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VICTOR LEOS 9-17CR-1839-N

FACTUAL RESUME
Defendant, Victor Leos, his attorney, Robert Rogers, and the United States of America
agree to the law and facts as follows:
L ELEMENTS OF THE OFFENSE
Count One
Conspiracy to Commit False Statements in Connection with Immigration Documents
(Violation of 18 U.S.C. § 371 (18 U.S.C. §1546(a)))

In order to prove the offense of Conspiracy to Commit False Statements in Connection
with Immigration Documents, as alleged in Count One of the Information, the government
must prove each of the following elements beyond a reasonable doubt:

1) That the defendant and at least one other person made an agreement to commit the

crime of False Statements in Connection with Immigration Documents, a violation of 18

U.S.C. § 1546(a), as charged in the indictment;

2) That the defendant knew the unlawful purpose of the agreement and joined in it
willfully, that is, with the intent to further the unlawful purpose; and

3) That one of the conspirators during the existence of the conspiracy knowingly
committed at least one of the overt acts described in the indictment, in order to
accomplish some object or purpose of the conspiracy.

The elements of the underlying violation, 18 U.S.C. 1546(a), False Statements in

Connection with Immigration Documents, are as follows:

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1) That the defendant knowingly made a false statement on an application required by the
immigration laws or regulations of the United States;

2) That the statement was material; and

3) That the statement was made under oath or as permitted under penalty of perjury.

Il. STIPULATED FACTS

Between approximately 1998 and 2013, Defendant Victor Leos was employed by
Garland Independent School District (GISD), located in Garland, Texas in the Northern
District of Texas. In 2007, Leos was promoted to be GISD’s Executive Director of Human
Resources, and held this position until leaving GISD in 2013. In the performance of his
duties, Leos was responsible for recruiting teachers from Mexico, Central and South America,
and the Philippines to fill open teaching positions at GISD. From at least 2007 on, Leos’s —
position at GISD was characterized by a high level of managerial discretion, and he was able to
perform his duties with little oversight and significantly less supervision than employees
whose responsibilities were primarily non-discretionary in nature. |

In or around 2003 and 2004, Leos was approached by recruiters who specialized in the
recruitment of specialty-skilled teachers from the Philippines and Latin America. By the time
Leos was promoted to Executive Director of Human Resources in 2007, these relationships had
become a criminal conspiracy to recruit foreign teachers that GISD did not necessarily need.
Leos benefited from this conspiracy by receiving kickbacks in the form of inflated fees to teach
orientation classes, travel, and other forms of remuneration. Leos’s co-conspirators
benefitted from this scheme by receiving fees from GISD to process both the H-1B visas and

the Form 9089s.

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After the foreign teachers were employed at GISD on H-1B temporary visas, Leos
knew they were unlikely to qualify for Form 9089 (Applications for Permanent Employment
Certification). Even so, Leos knowingly signed and filed (or had filed) Form 9089s with the
Department of Labor (DOL) to sponsor the teachers for employment-based permanent resident
applications. Specifically, from on or about August 27, 2012 to on or about December 6,
2012, Leos signed and filed (or had filed) for GISD thirty-eight Form 9089s in the Northern
District of Texas in which he knowingly made false statements. In each Form 9089 Leos
certified that all U.S. workers who applied for the job opening were rejected for lawful job-
related reasons when Leos knew this was not the case. To support these false statements,
Leos created recruitment reports which contained additional false statements regarding the
number of U.S. applicants for the open positions and the reasons for the rejection of the U.S.
applicants. Leos had these recruitment reports submitted to DOL to support the falsified Form
9089s that were also submitted.

AS a representative example, on or about September 27, 2012, in furtherance of the
conspiracy, Leos filed a Form 9089 seeking a labor certification for a foreign teacher in an
Elementary Bilingual Teacher position at GISD. Leos indicated in the recruitment report
submitted in support of the Form 9089 that there were twenty applicants for the position.

Leos represented that fourteen of the applicants were disqualified because they lacked a
teaching certificate or eligibility to obtain a certificate; two were disqualified due to an
unacceptable reference check, in that previous employers responded negatively to the question

of whether the employer would consider hiring the applicant back; two were disqualified

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because they failed to respond to telephone messages to set up an interview; and two were
disqualified because they were currently contracted with another employer and deemed not
available for the job opening. All of these statements were false. There were in fact 198
applicants for the Elementary Bilingual Teacher position during the applicable recruitment
period, not 20. Additionally, the information Leos supplied about the 20 applicants who had
supposedly applied for the position was false. Many of the individuals identified by Leos had
not even applied for the position, and in each case the reasons Leos indicated for their rejection
were untrue. For example, the applicants deemed to have negative references not only had
positive references, the GISD reference questionnaire did not even ask whether the employer
would consider hiring the applicant back as alleged in the recruitment report. Leos made
these false statements because he knew they were capable of influencing the Department of
Labor’s decision to grant the Form 9089 permanent employment certifications that Leos filed
on behalf of GISD.

Leos’s conduct was in violation of 18 U.S.C. § 371.

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AGREED TO AND SIGNED on “laren. & 2017.

VICTOR LEOS
Defendant

 

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